                     Case 1:17-cr-10281-PBS Document 65 Filed 08/16/18 Page 1 of 2

                                                                   FILED
                                   UNTTED
                                         for the District of Massachusetts
                                                       im AUG 16 Pi-I !?• ?8
UNITED STATES OF AMERICA                                   ,,   n c^o rr pn'RT
                                                                L'ivAi;
                                                            niO"''"'hr O'T V'AQO.
V.
                                                                    )•' Dort^NO. ^'•/ '
                                                            \ - ' TirtrT^T:
                                                                                                    \ • (^^9- M ' p/c
                            .            •         ,                )
 fjcv Inc' VI 5 Vt 16/v rc                     |4yt'cv ^            )


 MOTION TO DISMISS APPOINTED ATTORNEY AND TO APPOINT NEW ATTORNEY


        NOW COMES the Defendant, 0 €v                            ' T IVl ot P-^            the above matter, and
moves this Honorable Court to dismiss my appointed attoiney and to appoint a new attorney
to represent my interests.

        The reasons that I make this request are:

        {yf Disagreement on strategy;
        ()           Failure to obtainabailappeal;

                     Lack of understanding between me and my attorney;

        .{y( Failure to present my best interests;
        (\)/ Other
          Ti-ii"'.         \n^nKy>.r \i-eU 4nc rvuL                                 Cev-er^H [
             6\ \n          -p               •' s ^                       VhCncj s "i"^' 'I -I'ir
              Via                6:1 -




Date:     <^.                                                                Respectfully submitted.

                                                                            \ /I
                                                                                                       ,ProSe
                                                                             26 Long Pond Road
                                                                             Plymouth, MA 02360
             Case 1:17-cr-10281-PBS Document 65 Filed 08/16/18 Page 2 of 2



                                                    PlymouthCounty Correctional
                                                    26 Long Pond Road 7^/^ .
                                                    Pl5nnouth, MA 02360''         J^ p}1

                                                     0^-   *             I'kr. ,rjjuh/
United States District Court for
Ihe District of Massachusetts
US. Courthouse
One Courthouse Way
Boston, MA 02210

RE:       United States of America V.        Ino \/ >                             p)^
               ^ A7r - 6
      /
Dear Sir/Madam:                             ripi'--
      Enclosed for action, filing and docketing regarding the above-referenced matter, please
find MOTION TO DISMISS APPOINTED ATTORNEY AND TO APPOINT NEW ATTORNEY.
          Kindly mark this motion up for hearing atyour earliest convenience.


                                                     Very truly yours.


                                                               /


                                                                                     , ProSe



Enclosure
cc        US. Attorney
     Oc\ \f\ch      ^ r *'vo t d I
